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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MICHELLE BAILEY and MICHAEL JETT,
 individually and on behalf of themselves and all Case No. 1:23-CV-01537
 others similarly situated,
                               Plaintiffs,        Judge Franklin U. Valderrama
         v.
                                                  Magistrate Beth W. Jantz
 TYSON FOODS, INC.,

                               Defendant.


               PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

        Plaintiffs Michelle Bailey and Michael Jett (“Plaintiffs”), respectfully move this Court for

an order setting forth a deadline for Plaintiffs to file their Motion for Leave to File their First

Amended Complaint in this action and holding in abeyance the deadline for Defendant Tyson

Foods, Inc. (“Defendant”) to Answer or otherwise plead to the initial Complaint. In support of

this unopposed motion, Plaintiffs state as follows:

        1.     Plaintiffs filed an action in Illinois State Court, on behalf of themselves and a

putative class, alleging that Defendant violated the Illinois Genetic Information Protection Act by

unlawfully inquiring about their family medical history in connection with employment related

health assessments.

        2.     Plaintiffs initially filed the action in the Circuit Court of Cook County, Illinois, but

on March 13, 2023, Defendant removed the action to this Court pursuant to 28 U.S.C. §§ 1332,

1441, and 1446.

        3.     In a minute entry on March 22, 2023, the Court granted Defendant’s unopposed

motion to extend its time to Answer or otherwise respond to the complaint to today, April 19,

2023.
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         4.    During the intervening time, Plaintiffs and Defendant have met and conferred

several times, during which they: (a) exchanged information regarding the nature of the events

giving rise to this action; and (b) discussed the issue of the proper entity(ies) named/to be named

as defendant(s) in this action.

         5.    Based on the information provided by Defendant, along with additional information

collected since the filing of this action, Plaintiffs intend to move this Court for Leave to file their

First Amended Complaint. In the First Amended Complaint, Plaintiffs intend to add additional

entities as defendants, and to provide more fulsome allegations regarding the relevant actions taken

by the parties. To accomplish this, Plaintiffs require additional time to prepare their First Amended

Complaint and their Motion for Leave to Amend.

         6.    Plaintiffs’ counsel has met and conferred with Defendant’s counsel, and

Defendant’s counsel has stated that Defendant does not oppose Plaintiffs’ request for additional

time to file their Motion for Leave to Amend, so long as the Court holds in abeyance Defendant’s

requirement to answer or otherwise plead to the initial Complaint (currently due on April 19,

2023).

         7.    Therefore, Plaintiffs request that the Court enter an order setting a deadline for

Plaintiffs to file their Motion for Leave to Amend the Complaint to May 3, 2023, and holding in

abeyance the time for Defendant to Answer or otherwise respond to the initial Complaint, until

such initial Complaint is mooted by the filing of the First Amended Complaint (or, should the

Court deny Plaintiffs’ Motion for Leave, until fourteen (14) days after the entry of an order denying

Plaintiffs’ Motion for Leave to File their First Amended Complaint).

         8.    Plaintiffs do not bring this motion for purposes of undue burden or delay. This is

Plaintiffs’ first motion seeking leave to file an Amended Complaint.



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       WHEREFORE, Plaintiffs Michelle Bailey and Michael Jett respectfully request that this

Court grant its Motion for Extension of Time and enter an order in the form attached hereto.


Dated: April 19, 2023                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that he served a copy of the foregoing Plaintiffs’

Unopposed Motion for Extension of Time via the Court’s electronic filing system on the 19th

day of April, 2023, on:

                      Chad W. Moeller (cmoeller@nge.com)
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                                                           By:    /s/ Kyle McLean
                                                                  One of Plaintiffs’ Attorneys




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